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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION
                                                   §
 AVANT LOCATION TECHNOLOGIES                       §
 LLC,                                              §    Case No. 2:24-cv-00133
                                                   §
                           Plaintiff,              §    JURY TRIAL DEMANDED
                                                   §
            v.                                     §
                                                   §
 SAMSUNG ELECTRONICS CO. LTD., and
                                                   §
 SAMSUNG ELECTRONICS AMERICA,
                                                   §
 INC.,
                                                   §
                           Defendants.             §
                                                   §

                         NOTICE OF ATTORNEY APPEARANCE

       Notice is hereby given that the undersigned attorney, Enrique W. Iturralde, enters his

appearance in this matter for Plaintiff Avant Location Technologies LLC for purposes of

receiving notices and orders from the Court.

Dated: February 23, 2024                       Respectfully submitted,


                                                /s/ Enrique W. Iturralde
                                               Enrique Iturralde
                                               NY Bar No. 5526280
                                               Email: eiturralde@fabricantllp.com
                                               FABRICANT LLP
                                               411 Theodore Fremd Avenue,
                                               Suite 206 South
                                               Rye, New York 10580
                                               Telephone: (212) 257-5797
                                               Facsimile: (212) 257-5796

                                               ATTORNEYS FOR PLAINTIFF
                                               AVANT LOCATION TECHNOLOGIES LLC
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on February 23, 2024, all counsel of record who

are deemed to have consented to electronic service are being served with a copy of this document

via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                            /s/ Enrique W. Iturralde
                                                Enrique W. Iturralde
